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                                                                      1


           IN THE UNITED STATES DISTRICT COURT
        FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                    NORTHERN DIVISION



   ANGELA RUSSELL, AS ADMINISTRATRIX
   OF THE ESTATE OF JEREMY T. RUSSELL
   AND ON BEHALF OF THE WRONGFUL DEATH
   BENEFICIARIES OF JEREMY T. RUSSELL
             Plaintiffs,
   VERSUS                      CASE NO. 3:22-CV-294-HTW-LGI
   MANAGEMENT & TRAINING CORPORATION;
   MICHAEL MCCLINTON; MARCUS ROBINSON;
   JACOB VIGILANTE; JOHN AND JANE DOE
   CORRECTIONAL OFFICERS; VITALCORE
   HEALTH STRATEGIES, LLC; EVELYN DUNN;
   STACEY KITCHENS; WILLIAM BRAZIER; and
   JOHN AND JANE DOE MEDICAL PROVIDERS
             Defendants.




   **************************************************
      ZOOM VIDEOCONFERENCE 30(b)(6) DEPOSITION OF
           MANAGEMENT & TRAINING CORPORATION
     BY AND THROUGH ITS DESIGNATED REPRESENTATIVE,
                 WARDEN DONALD JACKSON
   **************************************************


                   APPEARANCES NOTED HEREIN

                      DATE: JULY 7, 2023
                       TIME: 10:59 A.M.



   REPORTED BY:

         Laura Cross, CCR #1691
         Court Reporter and Notary Public




                   SOUTHERN STENO REPORTERS
                          601-507-0849
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Russell v.                                                                                              DONALD JACKSON
Management Training Corporation, et al.                                                                       July 7, 2023
                                                        Page 2                                                           Page 4
 1   APPEARANCES:
                                                                  1 THE VIDEOGRAPHER:
 2
                                                                  2          Good morning. This is the videotaped
 3        GRAFTON E. BRAGG, ESQUIRE
          Bragg Law, PLLC                                         3 deposition of Management & Training Corporation
 4        Suite 3A-120
          Ridgeland, Mississippi 39157                            4 taken by counsel in the matter of Angela Russell,
 5        Telephone: (601) 624-1153
          grafton@graftonbragglaw.com                             5 et al., vs. Management & Training Corporation, et
 6             ATTORNEY FOR PLAINTIFF
                                                                  6 al. Today's date is July 7, 2023. The time now
 7                                                                7 is 10:58 a.m. Counsel may now introduce themselves
 8        MICHAEL E. CHASE, ESQUIRE                               8 on record.
          Mitchell, McNutt & Sams, PA
 9        105 South Front Street                                  9 MR. BRAGG:
          Tupelo, Mississippi 38804-4869
10        Post Office Box 7120                                   10          Grafton Bragg. I represent Angela
          Tupelo, Mississippi 38802-7120
11        Telephone: (662) 842-3871                              11 Russell and the wrongful death beneficiaries and
          Fax: (662) 842-8450
12        mchase@mitchellmcnutt.com                              12 estate beneficiaries of Jeremy Russell.
               ATTORNEY FOR VITALCORE HEALTH
13             STRATEGIES, LLC; EVELYN DUNN; STACEY              13 MR. GARNER:
               KITCHENS AND WILLIAM BRAZIER
14                                                               14          Jarrad Garner. I represent MTC and its
15                                                               15 individually named employee defendants.
          R. JARRAD GARNER, ESQUIRE
16        Adams and Reese, LLP                                   16 THE VIDEOGRAPHER:
          1018 Highland Colony Parkway
17        Suite 800                                              17          The court reporter may now swear in --
          Ridgeland, Mississippi 39157
18        Telephone: (601) 292-0701                              18 excuse me.
          Fax: (601) 355-9708
19        jarrad.garner@arlaw.com                                19 MR. CHASE:
               ATTORNEY FOR MANAGEMENT & TRAINING
20             CORPORATION; MICHAEL MCCLINTON; MARCUS            20          Michael Chase representing VitalCore,
               ROBINSON; AND JACOB VIGLIANTE
21                                                               21 Evelyn Dunn, Stacey Kitchens and William Brazier.
22                                                               22 THE VIDEOGRAPHER:
23   ALSO PRESENT:                                               23          The court reporter may now swear in the
24        Dan Magee, Legal Video Technician                      24 witness.
25                                                               25            WARDEN DONALD JACKSON

                                                        Page 3                                                           Page 5
 1               T-A-B-L-E O-F C-O-N-T-E-N-T-S
                                                                  1   having been first duly sworn, was
 2   Examination By:                             Page
                                                                  2   examined and testified as follows:
 3        Mr. Bragg                               4
          Mr. Chase                              42               3             EXAMINATION
 4
     Exhibits:                                                    4 BY MR. BRAGG:
 5
          Exhibit 1, Exhibit 1 to 30(b)(6)                        5   Q. All right. Please state your name for
 6         Notice of Management & Training
                                                                  6 the record.
           Corporation                            8
 7                                                                7   A. Donald Ray Jackson, Sr.
          Exhibit 2, Daily roster sheets          13
 8                                                                8   Q. All right. Do you mind if I call you
          Exhibit 3, Officer pay rate
 9         documents                             16               9 Warden Jackson?
10        Exhibit 4, Suicide prevention                          10   A. You can call me Warden or Donald,
           policy                                35
11                                                               11 either one, whichever you are comfortable with.
     Witness Signature Sheet                     45
12                                                               12   Q. Okay. Sounds good. My name is Grafton
     Certificate of Court Reporter               46
13                                                               13 Bragg. As I said before, I represent Angela
14                                                               14 Russell who is the representative on behalf of the
15                                                               15 wrongful death beneficiaries and estate
16                                                               16 beneficiaries for Jeremy Russell. And I'm sure
17                                                               17 that you are familiar with the litigation that
18                                                               18 gives rise to this deposition.
19                                                               19   A. Yes.
20                                                               20   Q. Okay. Have you ever given testimony on
21                                                               21 behalf of a company before?
22                                                               22   A. Yes.
23                                                               23   Q. Okay. So you've given a 30(b)(6)
24                                                               24 deposition like we're here doing today?
25                                                               25   A. Yes.


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Russell v.                                                                                                  DONALD JACKSON
Management Training Corporation, et al.                                                                           July 7, 2023
                                                         Page 30                                                            Page 32

 1   We now have VitalCore.                                         1   who has given an opinion about VitalCore's
 2      Q. Okay. And before VitalCore it was                        2   responsibility?
 3   Centurion; is that correct?                                    3   MR. GARNER:
 4      A. Again, I'm not sure. I don't want to                     4           Our expert witness.
 5   say Centurion because I don't know who it was.                 5     A. I think his name is Mr. Langford.
 6      Q. All right. I want to show you another                    6   BY MR. BRAGG:
 7   document.                                                      7     Q. Okay. And he is not a medical expert;
 8      A. Okay.                                                    8   is that correct?
 9   MR. BRAGG:                                                     9     A. Right.
10           Oh, sorry. Let's go off the record for                10     Q. So do I understand that MTC is taking
11   just a second.                                                11   the position that this was a health care issue,
12   THE VIDEOGRAPHER:                                             12   not a security issue that led to Jeremy Russell's
13           Off the record. The time now is 12:19                 13   death?
14   p.m.                                                          14   MR. GARNER:
15              (Off the record.)                                  15           Object to the form of the question.
16   THE VIDEOGRAPHER:                                             16     A. Right. It was a health care issue. It
17           Back on the record. The time now is                   17   wasn't our -- we don't make the decision if a
18   12:20 p.m.                                                    18   person's on suicide to take them off suicide.
19   BY MR. BRAGG:                                                 19   That's all done through VitalCore.
20      Q. All right. Warden Jackson, have you                     20   BY MR. BRAGG:
21   reviewed the affirmative defenses that MTC filed              21     Q. All right. Does Management Training
22   in this case to the complaint?                                22   Corporation, not just at East Mississippi, but at
23      A. Yeah. I looked at it, yes.                              23   large, have a suicide prevention policy?
24      Q. Okay. The 24th defense says -- and                      24   MR. GARNER:
25   I'll quote a portion of it -- that MTC would show             25           Object to the form.

                                                         Page 31                                                            Page 33

 1   that the acts or omissions of others for whom it               1      A. Yes.
 2   has no responsibility or liability are the sole                2   BY MR. BRAGG:
 3   proximate or contributing cause of plaintiff's                 3      Q. What sorts of facilities does that
 4   injuries and/or damages, if any, and that a jury               4   policy apply to?
 5   must be allowed to assess the proportionate share              5      A. It's applied to all of the MTC
 6   of fault to those parties and/or participants.                 6   facilities. But with us, we actually go over the
 7   And I want to ask you specifically about that                  7   one with MDOC, as well.
 8   defense. Does MTC take the position that                       8   MR. BRAGG:
 9   VitalCore or any of VitalCore's employees is                   9           All right. I want to see if this
10   responsible for the death of Jeremy Russell?                  10   document will pull up. All right. Let's go off
11   MR. GARNER:                                                   11   the record.
12          Hold on, Warden Jackson.                               12   THE VIDEOGRAPHER:
13   THE WITNESS:                                                  13           Off the record. The time now is 12:23
14          Yes, sir.                                              14   p.m.
15   MR. GARNER:                                                   15               (Off the record.)
16          I'm going to object to the form and                    16   THE VIDEOGRAPHER:
17   also object to the extent that calls for a legal              17           Back on the record. The time now is
18   conclusion or requires expert testimony. But to               18   12:27 p.m.
19   that extent he can answer if he knows.                        19   BY MR. BRAGG:
20   BY MR. BRAGG:                                                 20      Q. All right. And so what is this
21     Q. Okay. You may answer the question.                       21   document?
22     A. Okay. It is VitalCore, not MTC. And I                    22      A. East Mississippi Suicide Precaution,
23   would refer to the expert witness on his written              23   Intervention and Management.
24   review of the outcome of his report.                          24      Q. And according to the top here it says
25     Q. And you're talking about Dr. Mark Webb                   25   it was effective on October 22nd, 2014; is that


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